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Ivan Mckinney#601321

N.J.S.P.

p.o. Box 861

Trenton, N.J. 08625 Aud

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U.S. District Court
NewJersey District
Hon. Judge Michael Hammer Mckinney v. Cuccinella
50 Walnut Street 2:15-cv-07442
Newark, N.J. 07102 Tin. : me
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Your Honor,

Please accept this amended complaint I file in good faith to
include Corp. Huergo in this complaint. I want to thank you for
your timE in this matter. This complaint is filed underU.S.C.

1983.

CC. Leonard seaman
Sincerely Yours,

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1. On July 25,2013 Corp.Jorge Huergo was the
supervising officer in court room 403 in Bergen
County courthouse.

2. This court room was run by Hon.Judge Guida

3. Plaintiff, Ivan Mckinney was being sentenced in
that court on the above date

4. Towards the end of that proceeding plaintiff ask
to speak after being sentenced.

5.The Hon. Judge Guida allowed plaintiff to speak.

6. Plaintiff excercised that right and began to
chant I am Trevon Martin on several occasions

7. Hon. Judge Guida never told Corp. Huergo or Off.
Savino to remove plaintiff from the court

8. Corp. Huergo and Off. Savino proceeded to assault
plaintiff and remove him from the court.

9. Defendant’s assaulted plaintiff in the presence
of his family and others in the court.

10. The assault continued in the hallway on
plaintiff.

ll. Plaintiff sister was walking out the bathroom
when the two was assaulting plaintiff.

12. Plaintiff sister begged and shouted stop hitting
him.

13. While in the hallway OFF. James Conway was told
by Corp. Huergo open the fuck--- door that led from the hallway
unto the elevator.

14. While in the elevator both savino and Huergo
continued beating plaintiff constantly.

15. Upon them taking me out the elevator they kept
beating me all the way to the basement bull pen.
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16. A Hispanic prisoner had witness the beating down
by the bullpen. He told plaintiff a while later when he saw him.

17. Defendant’s injured plaintiff neck and shoulder
area causing severe pain and injury.

18. Plaintiff went to the medical department as soon
as he went back to the Bergen county Jail.

In violation of the 8th amendment Corp Huergo
purposely, willfully, and blatently assaulted plaintiff along

with Off. Savino.

Corp. Huergo conduct was with malice, reckless dis
regard, with intent to injure plaintiff.

Equal Protect)
21. Corp. Huergo also violated plaintiff 14thamendment

rights by subjecting him to a beating that was not done to other
prisoners.

22. Defendants Huergo and Savino’s conduct was willful
intent there fore stripping any defense of immunity

23. Off. savino has already been serven in this complaint
and now plaintiff is asking this court to amend Corp. Huergo in
it also.

24. On October 25, 2018 counsel for Off . Savino Leonard
Seaman ESQ. provided plaintiff with Corp. Huergo’s information
as-per this court’s order.

Plaintiff request trial by jury
Plaintiff request declatory relief at the courts judgement

plaintiff request compensatory at the courts judgement

Plaintiff request punitive damages in the amount of 200,000

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Janaary | 3) 2019 dan Mie
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